Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 1 of 291 Page ID #:1
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 2 of 291 Page ID #:2
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 3 of 291 Page ID #:3
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 4 of 291 Page ID #:4
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 5 of 291 Page ID #:5
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 6 of 291 Page ID #:6
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 7 of 291 Page ID #:7
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 8 of 291 Page ID #:8
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 9 of 291 Page ID #:9
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 10 of 291 Page ID #:10
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 11 of 291 Page ID #:11
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 12 of 291 Page ID #:12
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 13 of 291 Page ID #:13
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 14 of 291 Page ID #:14
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 15 of 291 Page ID #:15
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 16 of 291 Page ID #:16
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 17 of 291 Page ID #:17
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 18 of 291 Page ID #:18
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 19 of 291 Page ID #:19
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 20 of 291 Page ID #:20
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 21 of 291 Page ID #:21
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 22 of 291 Page ID #:22
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 23 of 291 Page ID #:23
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 24 of 291 Page ID #:24
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 25 of 291 Page ID #:25
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 26 of 291 Page ID #:26
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 27 of 291 Page ID #:27
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 28 of 291 Page ID #:28
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 29 of 291 Page ID #:29
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 30 of 291 Page ID #:30
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 31 of 291 Page ID #:31
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 32 of 291 Page ID #:32
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 33 of 291 Page ID #:33
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 34 of 291 Page ID #:34
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 35 of 291 Page ID #:35
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 36 of 291 Page ID #:36
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 37 of 291 Page ID #:37
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 38 of 291 Page ID #:38
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 39 of 291 Page ID #:39
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 40 of 291 Page ID #:40
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 41 of 291 Page ID #:41
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 42 of 291 Page ID #:42
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 43 of 291 Page ID #:43
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 44 of 291 Page ID #:44
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 45 of 291 Page ID #:45
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 46 of 291 Page ID #:46
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 47 of 291 Page ID #:47
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 48 of 291 Page ID #:48
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 49 of 291 Page ID #:49
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 50 of 291 Page ID #:50
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 51 of 291 Page ID #:51
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 52 of 291 Page ID #:52
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 53 of 291 Page ID #:53
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 54 of 291 Page ID #:54
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 55 of 291 Page ID #:55
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 56 of 291 Page ID #:56
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 57 of 291 Page ID #:57
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 58 of 291 Page ID #:58
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 59 of 291 Page ID #:59
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 60 of 291 Page ID #:60
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 61 of 291 Page ID #:61
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 62 of 291 Page ID #:62
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 63 of 291 Page ID #:63
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 64 of 291 Page ID #:64
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 65 of 291 Page ID #:65
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 66 of 291 Page ID #:66
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 67 of 291 Page ID #:67
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 68 of 291 Page ID #:68
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 69 of 291 Page ID #:69
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 70 of 291 Page ID #:70
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 71 of 291 Page ID #:71
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 72 of 291 Page ID #:72
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 73 of 291 Page ID #:73
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 74 of 291 Page ID #:74
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 75 of 291 Page ID #:75
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 76 of 291 Page ID #:76
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 77 of 291 Page ID #:77
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 78 of 291 Page ID #:78
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 79 of 291 Page ID #:79
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 80 of 291 Page ID #:80
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 81 of 291 Page ID #:81
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 82 of 291 Page ID #:82
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 83 of 291 Page ID #:83
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 84 of 291 Page ID #:84
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 85 of 291 Page ID #:85
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 86 of 291 Page ID #:86
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 87 of 291 Page ID #:87
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 88 of 291 Page ID #:88
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 89 of 291 Page ID #:89
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 90 of 291 Page ID #:90
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 91 of 291 Page ID #:91
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 92 of 291 Page ID #:92
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 93 of 291 Page ID #:93
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 94 of 291 Page ID #:94
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 95 of 291 Page ID #:95
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 96 of 291 Page ID #:96
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 97 of 291 Page ID #:97
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 98 of 291 Page ID #:98
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 99 of 291 Page ID #:99
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 100 of 291 Page ID #:100
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 101 of 291 Page ID #:101
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 102 of 291 Page ID #:102
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 103 of 291 Page ID #:103
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 104 of 291 Page ID #:104
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 105 of 291 Page ID #:105
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 106 of 291 Page ID #:106
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 107 of 291 Page ID #:107
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 108 of 291 Page ID #:108
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 109 of 291 Page ID #:109
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 110 of 291 Page ID #:110
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 111 of 291 Page ID #:111
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 112 of 291 Page ID #:112
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 113 of 291 Page ID #:113
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 114 of 291 Page ID #:114
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 115 of 291 Page ID #:115
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 116 of 291 Page ID #:116
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 117 of 291 Page ID #:117
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 118 of 291 Page ID #:118
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 119 of 291 Page ID #:119
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 120 of 291 Page ID #:120
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 121 of 291 Page ID #:121
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 122 of 291 Page ID #:122
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 123 of 291 Page ID #:123
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 124 of 291 Page ID #:124
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 125 of 291 Page ID #:125
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 126 of 291 Page ID #:126
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 127 of 291 Page ID #:127
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 128 of 291 Page ID #:128
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 129 of 291 Page ID #:129
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 130 of 291 Page ID #:130
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 131 of 291 Page ID #:131
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 132 of 291 Page ID #:132
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 133 of 291 Page ID #:133
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 134 of 291 Page ID #:134
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 135 of 291 Page ID #:135
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 136 of 291 Page ID #:136
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 137 of 291 Page ID #:137
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 138 of 291 Page ID #:138
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 139 of 291 Page ID #:139
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 140 of 291 Page ID #:140
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 141 of 291 Page ID #:141
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 142 of 291 Page ID #:142
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 143 of 291 Page ID #:143
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 144 of 291 Page ID #:144
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 145 of 291 Page ID #:145
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 146 of 291 Page ID #:146
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 147 of 291 Page ID #:147
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 148 of 291 Page ID #:148
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 149 of 291 Page ID #:149
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 150 of 291 Page ID #:150
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 151 of 291 Page ID #:151
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 152 of 291 Page ID #:152
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 153 of 291 Page ID #:153
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 154 of 291 Page ID #:154
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 155 of 291 Page ID #:155
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 156 of 291 Page ID #:156
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 157 of 291 Page ID #:157
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 158 of 291 Page ID #:158
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 159 of 291 Page ID #:159
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 160 of 291 Page ID #:160
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 161 of 291 Page ID #:161
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 162 of 291 Page ID #:162
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 163 of 291 Page ID #:163
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 164 of 291 Page ID #:164
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 165 of 291 Page ID #:165
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 166 of 291 Page ID #:166
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 167 of 291 Page ID #:167
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 168 of 291 Page ID #:168
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 169 of 291 Page ID #:169
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 170 of 291 Page ID #:170
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 171 of 291 Page ID #:171
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 172 of 291 Page ID #:172
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 173 of 291 Page ID #:173
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 174 of 291 Page ID #:174
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 175 of 291 Page ID #:175
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 176 of 291 Page ID #:176
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 177 of 291 Page ID #:177
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 178 of 291 Page ID #:178
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 179 of 291 Page ID #:179
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 180 of 291 Page ID #:180
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 181 of 291 Page ID #:181
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 182 of 291 Page ID #:182
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 183 of 291 Page ID #:183
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 184 of 291 Page ID #:184
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 185 of 291 Page ID #:185
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 186 of 291 Page ID #:186
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 187 of 291 Page ID #:187
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 188 of 291 Page ID #:188
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 189 of 291 Page ID #:189
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 190 of 291 Page ID #:190
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 191 of 291 Page ID #:191
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 192 of 291 Page ID #:192
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 193 of 291 Page ID #:193
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 194 of 291 Page ID #:194
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 195 of 291 Page ID #:195
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 196 of 291 Page ID #:196
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 197 of 291 Page ID #:197
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 198 of 291 Page ID #:198
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 199 of 291 Page ID #:199
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 200 of 291 Page ID #:200
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 201 of 291 Page ID #:201
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 202 of 291 Page ID #:202
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 203 of 291 Page ID #:203
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 204 of 291 Page ID #:204
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 205 of 291 Page ID #:205
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 206 of 291 Page ID #:206
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 207 of 291 Page ID #:207
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 208 of 291 Page ID #:208
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 209 of 291 Page ID #:209
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 210 of 291 Page ID #:210
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 211 of 291 Page ID #:211
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 212 of 291 Page ID #:212
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 213 of 291 Page ID #:213
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 214 of 291 Page ID #:214
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 215 of 291 Page ID #:215
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 216 of 291 Page ID #:216
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 217 of 291 Page ID #:217
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 218 of 291 Page ID #:218
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 219 of 291 Page ID #:219
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 220 of 291 Page ID #:220
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 221 of 291 Page ID #:221
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 222 of 291 Page ID #:222
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 223 of 291 Page ID #:223
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 224 of 291 Page ID #:224
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 225 of 291 Page ID #:225
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 226 of 291 Page ID #:226
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 227 of 291 Page ID #:227
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 228 of 291 Page ID #:228
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 229 of 291 Page ID #:229
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 230 of 291 Page ID #:230
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 231 of 291 Page ID #:231
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 232 of 291 Page ID #:232
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 233 of 291 Page ID #:233
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 234 of 291 Page ID #:234
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 235 of 291 Page ID #:235
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 236 of 291 Page ID #:236
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 237 of 291 Page ID #:237
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 238 of 291 Page ID #:238
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 239 of 291 Page ID #:239
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 240 of 291 Page ID #:240
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 241 of 291 Page ID #:241
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 242 of 291 Page ID #:242
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 243 of 291 Page ID #:243
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 244 of 291 Page ID #:244
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 245 of 291 Page ID #:245
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 246 of 291 Page ID #:246
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 247 of 291 Page ID #:247
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 248 of 291 Page ID #:248
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 249 of 291 Page ID #:249
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 250 of 291 Page ID #:250
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 251 of 291 Page ID #:251
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 252 of 291 Page ID #:252
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 253 of 291 Page ID #:253
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 254 of 291 Page ID #:254
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 255 of 291 Page ID #:255
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 256 of 291 Page ID #:256
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 257 of 291 Page ID #:257
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 258 of 291 Page ID #:258
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 259 of 291 Page ID #:259
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 260 of 291 Page ID #:260
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 261 of 291 Page ID #:261
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 262 of 291 Page ID #:262
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 263 of 291 Page ID #:263
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 264 of 291 Page ID #:264
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 265 of 291 Page ID #:265
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 266 of 291 Page ID #:266
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 267 of 291 Page ID #:267
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 268 of 291 Page ID #:268
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 269 of 291 Page ID #:269
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 270 of 291 Page ID #:270
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 271 of 291 Page ID #:271
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 272 of 291 Page ID #:272
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 273 of 291 Page ID #:273
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 274 of 291 Page ID #:274
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 275 of 291 Page ID #:275
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 276 of 291 Page ID #:276
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 277 of 291 Page ID #:277
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 278 of 291 Page ID #:278
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 279 of 291 Page ID #:279
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 280 of 291 Page ID #:280
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 281 of 291 Page ID #:281
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 282 of 291 Page ID #:282
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 283 of 291 Page ID #:283
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 284 of 291 Page ID #:284
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 285 of 291 Page ID #:285
Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 286 of 291 Page ID #:286
            lU/LJ/1J UJU/1  JH1H 19UIUK       rKtlUnl
                                            L11VtJ.           11VL.             lU/Ld/15                  L:JJ
     LHA
            Case   2:22-cv-03045-RGK-MAR        Document 1 Filed 05/05/22
                                        DIAGRAM / MANIFEST        JAIVEL
                                                                          Page 287 of 291 Page ID #:287
     PAGE      1                 DELIVERY LOADOUT

 DRIVER:                               TRAILER#:                         CLOSED TIME:           ~    ~
 MANIFEST#:                          I DRIVER NEEDS: PJ      2W          CLOSED BY:
~ # ISECISEQ~LOADER~            PRO#    I     CONSIGNEE           ~PIECESI WEIGHT~HAZ~F0001 APPT~FRZ~

~ 11 F I    I                1~~053569060~AIRGAS INC            I     1~    4231     I            I                 ~~
~ OTR LH 288669                          11885 N VENTURA AVE VENTURA, CA 93001                                      I ~


~ 21 F I     I               100872616910~BAKERSFIELD PIPE & SUPI     21 3,8001       I           I                 ~~
~ OTR 287897                             X2521 PALMA DR VENTURA. CA 93003

~ 31 F I    I                100937199710~C E D                 ~     1~    416       I           I                 ~~
~ OTR LH 288669                           1201 CALLENS RD VENTURA. CA 93003

~     4 F              00973143630 CERTEX U S A                                                                     ~
    Break LTR 283849 BLY          X1621 N VENTURA AVE VENTURA,             93001                                    I ~

~ 51 F I     I               1~~05355592010ERTEX U S A          ~     1~    1581      I               I             ~~
~ OTR 287897                             X1621 N VENTURA AVE VENTURA, CA 93001                                        ~

~ 61 F I        ~1 ~~053582040~DISTRIBUTION NOW      ~     1~    1501                 I                             ~
~ Orig dock CLO   346 OR6     X1735 N OLIVE ST VENTURA. CA 93001                                                    I ~


~     71 F I   I      1770534681701DRAKE GENERAL BUILDIN61     21    8~~1                 I           I             ~~
    Break CLO 287836 SON          14900 TELEGRAPH RD VENTURA. CA 93003                                              I ~
                     i
    ~ 8 F          1 '' ~`
                   '         '00954114040 EXOTIC PROGRESSION          1     400                                     ~~
    ~ OTR LH            ~                13007 BUNSEN AVE UNIT T VENTURA, CA 93003

    ~ 91 F I      I       1009221690101MAGNUSON PRODUCTS       I      11      5201        I           I             ~~
    ~ Greak l ~R 2°3849 E;.Y          ;1990 KNOLL C~ VENTUk,^,, ~.1 a300?                                             j

    ~ 10   ~- I~CS~42263457~MCJUNKIN RED MAN CORP I            1 L 3251                   I                       8:00~~
     Des do K Alf 289734 LAX 2254/ 3608 N VENTURE AVE VENTURA. LA 93001

    ~~_F I      I      1~~0535539101MCJUNKIN RED MAN CORP ~     1~    2351                I               I         ~~
     Break CLO 482346 ORG          13608 N VENTURE AVE VENTURA, CA 93001                                            I ~

    ~ 12 F                    00943341930 NOTHING BUNDT CAKES         1 1.052                                       ~~
    ~ OTR LH 2869            6            1794 S VICTORIA AVE VENTURA, CA 93003                                       ~

    ~ 13 F                    00 53833180 SCHLUMBERGER                1     392                                     ~~
    ~ OTR LH       98                     3530 ARUNDELL CIRCLE VENTURA, CA 93003                                      ~

    ~ 14 F      ''     00956605560 TILE ENCOUNTERS              1    287                                            ~~
    ~ Ori doc C    $7836 FON       4009 E MAIN ST  VENTURA. CA 93003                                                  ~

    ~ 15~ M I  I             1007953016001CINEMARK OXNARD       ~     1~    5901              I           I         ~~
      OTR     8 4                         2766 SEAGLASS WAY OXNARD, CA 93030                                          ~

    ~     M             00934478010 COASTLINE EQUIPMENT CO      6 8.545                                             ~~
    ~ OTR LH 285311 0043            1930 E LOCKWOOD ST OXNARD, CA 93036                                               ~

    ~ 171 M~           1009465513301ELITE METAL FINISHING I     it    2831 H I                                I     I~
     Dock mani 485971 LAX          X540 SPECTRUM CIR OXNARD. CA 93030                                                 ~

    ~ 181 M      I      1009751913201FRYS ELECTRONICS      I     11    2991                   I               I      ~~
    ~ Orig dock CLO 482346 ORG      X1901 E VENTURA BLVD OXNARD, CA 93036
    Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 288 of 291 Page ID #:288
                                            November 2015


Monday November 2, 2015 Route: Oxnard/Ventura Manifest Missing
Tuesday November 3, 2015 Route: Oxnard/Ventura Manifest Missing
Wednesday November 4, 2015 Route: Oxnard/Ventura Manifest Missing
Thursday November 5,2015 Route: Oxnard/Ventura Manifest Missing
Friday November 6, 2015 Route: OxnardNentura Manifest Missing


Monday November 9, 2015 Route: Oxnard/Ventura Manifest#751752207
Tuesday November 10.2015 Route: Oxnard/Ventura Manifest#751752424
Wednesday November 11, 2015 Route: Oxnard/Ventura Manifest#751752610
Thursday November 12, 2015 Route: Oxnard/Ventura Manifest#751752806
Friday November 13, 2015 Route: Oxnard/Ventura Manifest#751753015

Monday November 16, 2015 Route: O~ardNentura Manifest#751753208
Tuesday November 17, 2015 Route: Oxnard/Ventura Manifest#751753460
Wednesday November 18, 2015 Route: OxnardNentura Manifest#751753665
Thursday November 19, 2015 Route: Oxnard/Ventura Manifest#751753868
Friday November 20, 2015 Route: OxnardlVentura Manifest#751754056

Monday November 23, 2015 Route: Oxnard/Ventura Manifest#751754309
Tuesday November 24, 2015 Route: Oxnard/Ventura Manifest#751754545
Wednesday November 25,2015 Route: OxnardlVentura Manifest#751754713
Thursday November 26, 2015 Holiday
Friday November 27, 2015 Holiday

Monday November 30,2015 Vacation
              Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 289 of 291 Page ID #:289
~ MANIFEST #                  CITY DRIVER MANIFEST        FOODSTUFFS                                                              MATERIAL EDIBLE BY HUMANS OR   ~
~                751752207                                ON  BOARD?                                                              ANIMALS MUST NOT BE LOADED     ~
 ~                                                                                                                                WITH CLASS "A" OR "B" POISON _ ~
~ DATE           DRIVER EMPLOYEE #~ DRIVER'S FIRST INITIAL, LAST NAME                                                                                            ~
 ~  11/09/15 I          22855      I COBIAN,SAUL G
~ CLOCK TIME         LUNCH/FUEL      EQUIPMENT & ROUTE TOTAL MILEAGE                                                               STATE                          ODOMET            UT
~               ~ L-BEGIN     ~~ ET TRACTOR #           S A                                                                       ~ #1   ~
~                                    2L 12769               ~

 ~
        ,,AI~T ~ L-END
         ~f~TE              :~
                                     ET TRAILER OUT #
                                        485226
                                                         N
                                                       ~ U
                                                               r                                                                   I #2                                                                             ~~ ~
                  F-BE             ~      R    R I # ~ MT S                                                                        ~ #3
 ~           TE


~
                  F-END            ~ R U #         /~  SEAL j
                                                                                   v
                                                                                                                                   ~ #4               ~
                                                                                                                                                                                                  ~
                                                                                                                                                                                                  ~
                                                                                                                                                                                                              ~~~~ V~
~             N BER     ~ CONSI NEE           ~               PC       ~             HT ~ L ~ HM ~                       DELY ~                            COD           ~          DRIVER
                                                                                          Z I     I                     STATUS ~                          AMOUNT          ~         COLLECT       ~
~ 00950272970-1         ~ INDUSTRIAL BOLT     ~                    1 ~              247 ~ 1 ~     ~                       /    ~                                         ~
    CF:    10                                                                                                             L./                                                                     t~'i
~ 00923838510-0         ~ WOODCRAFT VENTUR    ~                    1 ~              934 ~ 3 ~                        ~ ~r      ~
    CF:    87                                                                                                            ~~
~ 00930223640-1         ~ LOWES               ~                    1 ~              144 ~ 3 ~                        ~~(" ~                                              ~               ~        ~~
    Cf:     2                                                                                                              ~•~
 ~ 00970146560-4        ~ LOWES               ~                    1 ~                 196 1 3 ~                      ~ ~,~ ~                                             ~
1 CF:             38    I                         I                        I                   I        I            I ~J`./I
~ 00970325120-3 ~ VENTURA MOTORCAR                ~            20                   495 ~ 3 ~                        ~                    ~
    ~ CF:         15    I                         I                        I                   I        I            I~~~I ~~~~~~~I~
~ 00844593030-5 ~ SCHLUMBERGER                    ~            20 ~                1334 ~ 2 ~                   X ~   1 ~ /
                                                                                                                          ~  .~-I~ ;(~ ~_~

    ~ 00934461270-5      ~ COASTLINE EQUIPM       ~                8 ~             10460 ~ 2 ~                       ~                        ~           i                   ~                       ~
        CF: 1,164                                                                                                                                                    ~                                 ~ (~
    ~ 77053829470-3      ~ CERTEX U S A           ~                2                2991 ~ 2 ~                       ~ -,~                    ~                  ~            ~;~    ~~.`                ~
        CF:    66                                                                                                                 ~                                                      ,
    ~ 00907678720-6      ~ 3807 CAMARILLO C           ~            1 I                 199 1 1 ~                     ~                        ~
        CF :    6                                                                                                                                                      ~._                                    ``
     ~ 00927223840-6     ~ HAJOCA CORPORATI           ~        12 ~                    399 ~ 1 ~                         ~          ~                                   (~ r
        CF:    34                                                                                                                 ~/
     ~ 00932092340-6        ~ FAST UNDERCAR           ~            1 ~                 536 ~ 1 ~                                 ~~ ~                            \~
    j CF :         33       I                             I                    I                   I        I                I                                    `~                                           ~~
    ~ 00944248880-5 ~ DNOW L P                            ~        1 ~              2130 ~ 1 ~                           ~ .~ ~ ~                             ~~,~—~ ,~                               ~~
    ~ CF:          48       I                             I                    I                   I        I                I                    I                     ~~~~_~
    ~ 00956269570-6 ~ AIRGAS WEST                         ~        1 ~                 132 ~ 1 ~                 X ~              ~~                                                                  ~
1 ~` ~             17       I                             I                    I                   I        I                I                    I                                           ~• ~
    ~ 00984456810-5 ~ TILECO                              ~        1 ~                 365 ~ 1 ~                             ~     r  ~                          T~                                   ~ ~~
        CF:    13                                                                                                                  ~~
     ~ 77053784140-6 ~ MCJUNKIN RED MAN                   ~        1 ~                 370 ~ 1 ~                             ~         ~                                                      ,




                                                              ~ ~                                  ~_~_~
                                                                                                   ~~ _~~ ~~
                                                              ~ ~                                   ~~ _~~ ~~                                                                                             ~
    ~                                TRIP SUMMARY                                                                                         ~    DRIVER CHECK-IN
            DELIVERY STOPS BILLS DELIVERED ~ RETURN STOPS                                  ~           BILLS RETURNED                     ~    TOTAL   ~$
                                                                                                                                             COLLECTED ~
                                                               ~~                          I                    ~                         I CHECK-IN SIGNATURE

     ~                ~             ~ v                                          ~   DRIVER CHECK-OUT
     ~       r.~CuUCi;ar P~U~BiLLS PICKED UP ~ P/U NG FREIGHT ~ TRAILER GROF/HOOK ~ OF BILLS I     ~~
      ~                     ~                 ~                ~                 ~  ` EIV~G
                                                                                                                                                              nlu~ 'J Ji ~Aidn~
        ~                                                                                                       ~~                                                          ~\
                 Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 290 of 291 Page ID #:290
                                                            FOODSTUFFS MATERIAL EDIBLE BY HUMANS OR
                                                         CITY DRIVER MANIFEST                              ~
 ~ MANIFEST #
                                                            ON BOARD? ANIMALS MUST NOT BE LOADED           ~
 ~            75752424
                                                                            WITH CLASS "A" OR "B" POISON _ ~
                                                                                                            ~
 ~ DATE           DRIVER EMPLOYEE #~ DRIVER'S FIRST INITIAL, LAST NAME
                                                                                                         _   ~
  ~    11/10/15 I        22855      I COBIAN.SAUL G
                                                                                         ODOMETER OUT       ~
 ~ CLOCK TIME I       LUNCH/FUEL    I EQUIPMENT & ROUTE I TOTAL MILEAGE ISTATE ~
    ~,). ~~,~ O~~I L-BE~I  ~I 1~           69TOR #      ~STA~T~~~ #1               ~
                                    I 2L 12                                         I
 ~,  v 1 .0~1T ~ L-ENQ ~      ~~ ,~ET     TRAILER OUT # I~ENf~.s} ~ .~ ,~ ~'l I#2


                            ~ F-BEG ITV              f~ ~                                  R                        b # r MT SE ~                                                `~    #3                    ~
                     G                               ~~
                     OFF ~ F-END                     ~%~ ~ R                                                              SEAL #~ ~ #4                                                                       ~I

                                                                                               PCS ~ WEI                    L ~ HM ~                                               DELY ~                          COD        ~           DRIVER         ~
 ~ R UMBER        ~ CONSIGNEE
                                                                                                                            Z                                                     STATUS                          AMOUNT                  COLLECT        ~
 ~
                                                                   ~                             1 ~                  462 ~ 2 ~    ~                                ( ~                                                 /~/!~                            ~
  ~ 00954916340-0 ~ OREILLY AUTO #30
 ~ CF:                22        I                                  I
                                                                   ~                             1 ~
                                                                                                    I                      I
                                                                                                                       44 ~ 3 ~
                                                                                                                                               I                 I ~~I
                                                                                                                                                                 ~                       ~
                                                                                                                                                                                                                        ~).1~ ~~
                                                                                                                                                                                                                              ~                     r~
                                                                                                                                                                                                                                                              S~¢
 ~ 00907919880-0 A H D SUPPLY
    CF:     5                                                                                                                                                                         ~./                                                     v~
                                                                                                                                                                                                                        ~~~-E~
                                                                       ~                         1 ~                   175 ~ 3 ~                                 ~                       ~                                   ~               ~~
 ~ 00934156130-4 A H D SUPPLY REPAI
              CF:     59         I                                     I                               I                    I                   I                    I                ~. ~
                                                                       ~                         1 ~                    76 ~ 3 ~                                 ~.                          ~                                    ~                      ~
  ~ 00951151210-3 A H D SUPPLY
  ~ CF:               13            I                                      I                            I                      I                   I             I~l~l
                                                                           ~                     1 ~                   329 1 3 I                                  ~~~ ~   ~I                                                                                 ~I
  ~ 00958046750-1 A H D SUPPLY REPAI
     ~F ~   29     I                                                        I                       I                       I   I                                 I ,~
                                                                            ~                   56 ~                  1361 ~ 2 ~                                X ~ ~{~ ~~                                                                _~—                ~
  ~ 00793237640-2  ~ SHERWIN WILLIAMS
              ~F :    ~~             I                                      I                              I                    I                   I            I~~ I                                            r 1~,~~,1~.~~
                                                                           ~                     2 I                  4893 ~ 2 ~                                         ~     `,t ~~'           ~                        (~ ~l~(
  ~ 00950683690-4 ~ B& R FABRICATIO
              CF :    107               I                                   I                              I                    I                   I            I~~ I        ~ "1 `~(1~ \ 1 ~ "1. -1
  ; .OQ956441050-4 ~ PRO SOURCE OF OX                                          ~                 1 ~                    67 1 2 ~                                 ~ ,~'   ~ ~ 1   ~ ~ ~ 1  ~~
 1 ~F:                 2                I                                       I                           I                      I                   I          I ~)~~I ~ V ~,~ ~~~Q
                                                                                ~                1 ~                   188 ~ 1 ~                                         ~            ~~                           r                           ~ ~~
  ~ (10890526550-6 ~ ALL PHASE
  j CF:                21                I                                         I                        I                          I                I                    I                       I             ~
                                                                                   ~             2 ~                  1602 ~ 1 ~                                             ~                       ~             I~      ~~                                     ~
  ~ 00919860320- 5 ~ RAY PA K I N C
              CF :    119                   I                                       I                          I                       I                I                    I ~ ~~~ I                             I~t ~ ~- ~--                     l~`~-~(~
                                                                                    ~            4 ~                   192 ~ 1 ~                                X ~                                  ~             li -.~ t ~  i
  ~ 00943439800-3 ~ PAC I F I C STO N E W O
              CF:      14                   I                                          I                        I                      I                   I             I~~ I                                    ~" 1 k~") ~ • 1                                         ~(~
                                                                                    ~             3 ~                  848 ~ 1 ~                                             ~(~~ ~                                                   ~                           ~
  ~ 00971259441-6 ~ SA N B U E N A V E N TU RA
  j CF:                95                    I                                          I                       I                          I                I                I1.7
                                                                                       ~          2 ~                   97 ~ 1 ~                                                 ~ ~ ~'                  ~        j~ ~ ~ ~~ ,,~ , 1^ ~ ~
  ~ 00972266270 -1 ~ ANACAPA MICRO PR

                                                                                        ~         1 ~                   280 ~ 1 ~                                                ~  r    ~                           (l~'   ~,~/
  ~ 70012163484-0 ~ DNOW L P
                                                                                         I           I                       I   I                                               I~~.../ I                        ~`~VI~  ~ 1\
     CF:    19     I

                                                                                    ~~~~~—~                                                                                  ~~~~~~~                                                                                  ~
~U~                                              ~   ~




                                 TRIP SUMMARY                                                                                                                                                    ~        DRIVER CHECK-IN                                                 ~
      ~
                             DELIVERE D ~ RETURN STOPS                                                                             ~           BILLS RETURNED                                    ~        TOTAL   I$
      ~ DELIVERY STOPS BILLS
                                                                                                                                                                                                        COLLECTED ~
                                                                                                                                                                                                     ~ CHECK-IN SIGNATURE                                                 ~
                                                                                                                                                                                                                                                     —~
      ~                                                                                                                                                                                                                                              _~
                                                                                       DRIVER CHECK-OUT
                                                                                      OF BILLS
      ~         FROCUCTIVE P/U~BILLS PICKED UP ~ P/U NO FREIGH? ~ TRADER DROP/HOOKS #
                                        ~       ~                ~                 ~ RECEIVED                                                                                                                                                        _~
          ~           ~        ~
                                                                                                                                                                                                                   R1'v n~J J~u'iV~i~un~

                             ~
                                                                                                                                           ~                    ~                                        ~
                                                                                                                                                                                                                           o ~ _~~
              Case 2:22-cv-03045-RGK-MAR Document 1 Filed 05/05/22 Page 291 of 291 Page ID #:291
~ MANIFEST #                                         CITY DRIVER MANIFEST          FOODSTUFFS MATERIAL EDIBLE BY HUMANS OR    ~
~            751752610                                                             ON BOARD? ANIMALS MUST NOT BE LOADED       ~
                                                                                               WITH CLASS "A" OR "B" POISON _ ~
~ DATE                       DRIVER EMPLOYEE #~              DRIVER'S FIRST INITIAL, LAST NAME                                ~
                                    22855      I             COBIAN,SAUL G                                                  _   ~
~   11/11/15               I
                                 LUNCH/FUEL    ~             EQUIPMENT & ROUTE I TOTAL MILEAGE ESTATE ~     ODOMETER OUT       ~
~ CHOCK TIME               I
          ON               ~ L-BEG             ~             ET TRACTOR #      ~ S R      r    I #1
                                                              L 164063                    ~                                     ~
                           ~ L-END                       ~   ET TRAILER OUT # ~ N                 #2
                                                                485167                                                          ~
                 GATE
                   N S F-B                     t ,~ ~             RAI E I       A T E           ~ #3   ~                        ~
                       E                       ~~~                                                                                                              I                      I                                           ~
                   F ~ F-END                   O O       ~ R                            ~ (\ ~      SEAL #~_.                                                   ~ #4                   I                                           I                ~~
                                                                                           U                                                                                                                                       ~
~        R      MBER          ~ CO             IGN E                ~                   PCS ~ W GHT ~ L ~ HM ~                                                DELY ~                        COD        ~            DRIVER         ~
                                                                                                      Z I     I                                              STATUS I                      AMOUNT       ~           COLLECT        ~
                                                                    ~                     2 ~    50 ~ 1 ~     ~                                                r"   ~                                   ~                           ~
~ 00957415570-2 ~ SLOAN LED
~ CF :             4           I                                    I                        I                      I                I              I~ ~~              ~                      ~~~I_,~~
                                                                                                                                                                                                     _~--~ ~l~ S"~_
                                                                                                                                                                                                         ~ ~~
~ 77053871210-5 ~ WEATHERFORD                                       ~                     1 ~                200 ~ 4 ~                              ~                  ~
~ CF:              6           I                                        I                    I                      I                I              I ~1~!i
                                                                    ~                     1 ~                200 ~ 3 ~                              ~ ( / ~                                    ~ ~                                  ~
~ 00949437710-6 A H D SUPPLY REPAI
                                                                                                                                                        v                                      ~                           ~        ~~---~--
   C F:    6
~ 00956035360-0 A H D SUPPLY REPAi                                      ~                 1 ~                 108 ~ 3 ~                               ( ~
                                                                                                                                                     i1                                          ~
1 ~F ~             8           I                                        I                       I                   I                I                  I 'U ~-/
                                                                        ~                 3 ~                2466 ~ 3 ~                                                ~                                    ~                          ~
    ~ 00984454760-3 A H D SUPPLY
j CF:            339               I                                        I                    I                      I                I          I~<~I                                                   I                           ~
    ~ 00881782470-3 ~ PULSE DEVICE LAB                                  ~                 1 ~                  13 ~ 2 ~                           X ~          (  /~
                2                                                                                                                                               ~/                                   ~                            ~~S -
        CF:
    ~ 00937327140-5 ~ WHITE SEED                                            ~             5 ~                5250                2 ~                                       ~                                        l                          ~~
    j CF: 351
     ~ 0093839444n 6 ~ BWC                                                  ~             4 I                5047 ~ 2 i                             ~                      ~                                ~           UNRATED            ~
    ~ CF:         261              I                                            I                    I                      I                I      I~j1~
    ~ 00957658220-5 ~ OFFICE DEPOT                                          ~             1 ~                 194 ~ 2 ~                                 ~   ~  J
       CF :   22                                                                                                                                            l./
                                                                                ~         3 ~                 265 ~ 1 ~                                 ~~q C   ~                                                         3                ~~
    ~ 00944508190-1 ~ CONCRETE TIE

                                                                                ~          1 ~                728 ~ 1 ~                                 ~                      ~                                ~       ;               ~I
    ~ 00956458040-2 ~ TILE ENCOUNTERS
                                                                                                                                                                                                                        ~               ~ ~O
       CF:    15
    ~ 00985425580-Z ~ LOWES                                                     ~          1 ~                350                1
    i cF:          zs                  i                                            i                    i                  ~i               ~i             ~i ~~/i                         ~ 1 U ~c~- ~11~~r~
                                                                                                                                I _I-I

                                                                                                                                I _I-I

                                                                                                                            -I_I

                                                                                                                                 -I_I

                                                                                                                                 I _I_I                                            I                 _I

                                                                                                                                 I.-I-I
     ~ __                       TRIP SUMMARY                                                                                                 ,                             ~    DRIVER CHECK-IN                                                ~
     ~ DELIVERY STOPS BILLS DELIVERED ~ RETURN STOPS                                                                ~             BILLS RETURNED                           ~    TOTAL   ~$ `~
                                                                                                                                                                              COLLECTcD ~   ~                                                  ~
                                                                                          ~                                                                                I CHECK-IN SIGNATURE                                                ~
                                                       \
                                                                                                                                                                                                                                  _I
                                                                         --       I   DRIVER CHECK-OUT
     ~       i'hvuuCiiVE P~U~aiLLS PiCKtD UP ~ P/U NO FREIuMT ~ TRAILER uROPiHGGK~ # GF Bi'~LS I  ~'
                                                                                                                                                                                           E~Eiv~C                                _i
                                                                                                                                                                               I           Ki c~     ~ ui~r~.~~K~                  j
                                           ~                    ~                          ~                                ~                                                                                                       ~
                 ~                                                                                                           ~                    ~                                                         ~r
                 ~                                                                                                                                                                                                                —i
